                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

 UNITED STATES OF AMERICA,                       )
                                                 )
          v.                                     )
                                                 )        Criminal No. 1:16-cr-42
 ARDIT FERIZI,                                   )
                                                 )
               Defendant.                        )

                            Government’s Response to Court’s Order

       The defendant, Ardit Ferizi, is a Kosovo citizen, computer hacker, and sympathizer of the

Islamic State of Iraq and al-Sham (ISIS). Ferizi was convicted in 2016 of providing material

support to ISIS and unauthorized computer access. Ferizi breached the servers of a U.S. company,

stole personal identifying information of over 100,000 of its customers, and used that information

to specifically locate U.S. military and government personnel. He identified approximately 1,300

such individuals and sent the information to a high-profile ISIS member in Syria, intending for

ISIS to “hit them hard.” Soon after, the ISIS member published a “kill list” with these names on

Twitter, adding the following message: “the soldiers of the khilafah, who soon with the permission

of Allah will strike at your necks in your own lands!”

       In sentencing Ferizi to 240 months’ imprisonment in 2016, the Court rejected his attempts

to excuse his conduct, accepted the Presentence Investigation Report’s conclusion that he provided

material support with the intent, knowledge, or reason to believe it would be used to commit or

assist in the commission of a violent act, and rejected the theory that Ferizi’s crimes should be

treated less seriously because his victims did not suffer physical harm.

        In August 2020, the Court denied Ferizi’ first motion for compassionate release. In doing

so, the Court repeatedly recognized that Ferizi was too dangerous to release and that doing so
would not protect the safety of the community from future hacking. In December 2020, the Court

granted the defendant’s motion for compassionate release. In doing so, the Court rejected the

government’s arguments that releasing Ferizi to a foreign country would not protect the public

from further crimes of the defendant.

        The government appealed the Court’s release order and about one month later, Ferizi was

charged with new crimes in the Northern District of California. These new charges stemmed from

Ferizi’s conduct while in prison on his convictions in this case. After hearing oral argument, the

Fourth Circuit remanded back to this Court to consider the new charges.

        As explained in greater detail below, the new charges are but the latest chapter in Ferizi’s

career of crime and deception. As with his prior offenses, Ferizi is again accused of a crime

involving the theft of innocent victims’ personal identifying information. Ferizi’s background,

history, and skillset made him an inappropriate candidate for compassionate release in December

2020. The government has consistently articulated this position. The new charges only confirm

that point.

                                        Procedural History

    A. Ferizi’s Offense Conduct
        On September 21, 2014, ISIS’ spokesperson, Abu Muhammad al-Adnani, openly called

for attacks against citizens and military employees of countries participating in the U.S.-led

coalition against ISIS. (ECF No. 36 at 2.) On March 20, 2015, ISIS member Junaid Hussain, acting

under the banner of “the Islamic State Hacking Division,” posted online a “kill list” that included

100 names and addresses of U.S. military personnel. Id. Hussain was a Syria-based ISIS member




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actively engaged in supporting the group’s efforts to conduct terrorist attacks against U.S. military

members and government personnel. Id. at 4.1

        About one month later, Ferizi, then-residing in Malaysia and using the Twitter moniker

“@Th3Dir3ctorY,” began communicating with an ISIS member known as Tariq Hamayun. (ECF

No. 36 at 3.) Hamayun used the Twitter moniker “@Muslim_Sniper_D.” (PSR ¶ 11.) On April 21,

2015, Hamayun tweeted as follows: “God Willingly will be making the best Electronics LAB in

the Islamic state, would be producing sophisticated IEDS.” (ECF No. 2 at 10.) The next day,

Hamayun, using the same account, tweeted that “IEDs is my favorite weapon after Sniping, u hit

the enemy &amp; disappear in thin air like a Ghost. Its a Must.” Id. On April 26-27, 2015, Ferizi

and Hamayun communicated through Twitter. (ECF No. 2 at 10; ECF No. 36 at 3.) At one point,

Ferizi told Hamayun that he had “4 million data of kuffar countrys which attacking islamic state.”

(ECF No. 54-1 at 7.) Ultimately, Ferizi provided Hamayun with screenshots of credit card

information belonging to 68 individuals. (PSR ¶ 11; ECF No. 36 at 3.) Later, Hamayun commented

on this information, “MashAllah [what God has willed] brother I check some of this info its really

good[,]” and added, “Can do some damage inshallah[.]” (ECF No. 54-1 at 7.) Ferizi asked

Hamayun to confirm his identity as “Abu Al-Britani,” whom he knew to be an ISIS member. (PSR

¶ 11.) Hamayun confirmed his identity and association with Junaid Hussain, claiming that Hussain

“told me a lot about u.” (PSR ¶ 11; ECF No. 54-1 at 7.) Hamayun also implored Ferizi to “come




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      The Junaid Hussain referenced herein is the same Hussain who has figured prominently in
other recent prosecutions, such as the plot to fulfill an ISIS fatwa by killing American activist and
commentator Pamela Geller. See United States v. Wright, 937 F.3d 8 (1st Cir. 2019); see also
United States v. Mumuni Saleh, 946 F.3d 97, 102 (2d Cir. 2019) (“Mumuni was offered a pressure-
cooker bomb from Saleh for his attack. When Mumuni asked Saleh whether it would be
permissible from a religious standpoint to die during his attack on law enforcement, Saleh
contacted Junaid Hussain (“Hussain”), a notorious Syria-based ISIS attack facilitator. Hussain
expressly authorized Mumuni’s suicide attack”).
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and join us in the Islamic state.” “InshAllah,” or God-willing, Ferizi responded. (ECF No. 54-1 at

7.)

           Beginning in June 2015, Ferizi unlawfully accessed the Arizona-based server of a U.S.

company. (ECF No. 36 at 3.) Ferizi obtained administrator-level access and spent the next two

months extracting the personal identifying information (PII) of over 100,000 customers. Id. Ferizi

specifically searched for email addresses ending in “.gov” or “.mil.” and thereby culled the PII of

approximately 1,300 U.S military and government personnel. Id.

           Ferizi then provided the information to ISIS “with the understanding that ISI[S] would use

the PII to hit them hard.” Id. at 4. Ferizi did this by contacting Junaid Hussain, whom he knew was

a member of ISIS actively engaged in supporting the group. Id. at 3–4. At one point, Hussain told

Ferizi: “we will make like a message inshAllah […] like u know the hit list I made […] we will

make message to kuffar and release the .mil and .gov[.]” (ECF No. 54-1 at 10–11.) Soon after,

Hussain stated “Allahu Akbar [...] Akhi this will hit them hard[.]” Id. at 11. Ferizi immediately

responded “yes brother inshalllah[.]” Id.2

           On August 11, 2015, Hussain, acting in the name of “the Islamic State Hacking Division,”

issued a public message over Twitter with the heading: “NEW: U.S. Military AND government

HACKED by the Islamic State Hacking Division!” (ECF No. 36 at 4–5; ECF No. 2 at 12.) The




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          Earlier in the conversation, a similar exchange ensued:

      Ferizi: there is a huge db [database]
      Hussain: Allahu Akbar
      Hussain: we need to hit them hard
      Ferizi: yes, inshaAllah
      Hussain: ok akhi we will release biidnillah
      Ferizi: just when we hit hit them strong

(ECF No. 54-1 at 9.)
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message contained a link to a 30-page document containing the names, e-mail addresses,

passwords, locations, and telephone numbers of the 1,300 U.S. military members and government

personnel Ferizi had unlawfully obtained. The document, addressed to the “Crusaders” conducting

“bombing campaign[s] against the muslims,” stated as follows:

        we are in your emails and computer systems, watching and recording your every
        move, we have your names and addresses, we are in your emails and social media
        accounts, we are extracting confidential data and passing on your personal
        information to the soldiers of the khilafah, who soon with the permission of Allah
        will strike at your necks in your own lands!

(ECF No. 36 at 4–5.) About two weeks later, Hussain was killed by an airstrike in Syria.

        On October 6, 2015, Ferizi was charged by criminal complaint in the Eastern District of

Virginia. Malaysian authorities arrested him on October 12, 2015, and extradited him to the U.S.

on January 22, 2016.3

   B. Ferizi is indicted, pleads guilty, and receives a 240-month sentence.

        On February 16, 2016, Ferizi was charged in a four-count indictment with: conspiring to

provide and providing material support and resources to a designated foreign terrorist organization,

in violation of 18 U.S.C. § 2339B (Counts One and Two); unauthorized computer access, in

violation of 18 U.S.C. §§ 1030(a)(2)(c), (c)(2)(B)(ii) (Count Three); and aggravated identity theft,

in violation of 18 U.S.C. § 1028A(a)(2).




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       During the relevant period, Ferizi sought to aid or promote ISIS in several other ways. For
example, he administered a website that hosted dozens of ISIS videos. (ECF No. 54-1 at 3–5.) He
directed an offer of technical assistance at three now-suspended pro-ISIS Twitter accounts, stating
as follows: “brother wait till im making the script which u can upload and never get deleted
(DEDICATED SERVERS)[.]” (ECF No. 2 at 13–14.) And in private internet chats, he defended
ISIS’ release of hit lists containing U.S. service members’ information (“cos they was the people
who killed people in iraq and syria [...] if someone kill your family and run would u not find him
and kill him?”), and the group’s highly publicized beheadings of civilians (“ill tell u they never
kill someone without reasons believe me i guarantee u[.]”). (ECF No. 54-1 at 7.)
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         On June 15, 2016, Ferizi pled guilty to Counts Two and Three of the indictment. As part

of his plea, Ferizi agreed that “[d]uring this entire period of the [charged conduct], [he] knew ISIS

had engaged in and was engaging in terrorist activity and terrorism.” (ECF No. 36 at 3.) Ferizi

agreed that his actions “were done willfully and knowingly and with the specific intent to violate

the law, and were not committed by mistake, accident, or other innocent reason.” Id. at 3, 5. He

further admitted that he provided ISIS with the PII with the understanding that ISIS would use the

PII to “hit them hard.” Id. at 4.4 In pleading guilty to Count Three, Ferizi necessarily admitted that

he intentionally accesses the victim company’s server without authorization and that he did so in

furtherance of the material support violation. See § 1030(a)(2)(C), (c)(2)(B)(ii). In other words,

Ferizi admitted that he hacked the victim company to promote, advance, or further the material

support violation. Ferizi also stipulated to the application of a 12-level upward adjustment under

U.S.S.G. § 3A1.4 because his material support offense was a felony involving a federal crime of

terrorism under 18 U.S.C. § 2332b(g)(5)(A). (ECF No. 35 at 3–4.) In doing so, Ferizi necessarily

accepted that he had “the specific intent required by the terrorism enhancement.” United States v.

Chandia, 675 F.3d 329, 331 (4th Cir. 2012). Namely, that his material support offense was

“calculated to influence or affect the conduct of government by intimidation or coercion, or to

retaliate against government conduct.” § 2332b(g)(5).

         Prior to sentencing, the Office of Probation prepared a Presentence Investigation Report

(PSR). As calculated by the PSR, Ferizi’s Guideline range was 360 months to life imprisonment,

capped at the 300-month combined statutory maximum. As relevant here, the PSR recommended

the additional application of a two-level base offense increase under U.S.S.G. § 2M5.3(b)(1)(E)

for the provision of material support with the intent, knowledge, or reason to believe it would be



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        As he himself put it, “just when we hit hit them strong.” (ECF No. 54-1 at 9.)
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used to commit or assist in the commission of a violent act. (PSR ¶ 30.) Ferizi objected to the

application of § 2M5.3(b)(1)(E) but Probation insisted on its applicability:

       The defendant sought to obtain the personal information of specific individuals for
       the sole purpose of providing their information to ISIL, knowing ISIL had targeted
       that very group as a group to be harmed. As detailed in the Statement of Facts, in
       June of 2015, the defendant reached out to an individual he knew to be a terrorist
       and provided him with the personal information of United States military and
       government personnel. He was aware the individual and his ISIL colleagues were
       exerting efforts to conduct violent attacks against United States military and
       government personnel. He also knew that ISIL planned to “hit them hard.”

       The guideline applications use a preponderance standard, and this officer believes
       it is more likely than not that the defendant deliberately sought the victims’
       information knowing ISIL members would use it to engage in acts of violence
       against them.

(PSR p.18–19) (Addendum) (emphasis added). In his sentencing submission, Ferizi continued to

object to the application of the enhancement, arguing that he did not intend to “bring violence to

anyone” but was instead merely “boast[ing] about his hacking exploits on-line[.]” (ECF No. 53 at

4.) The Court subsequently “accept[ed] the guidelines as they’ve been calculated, because I think

they are correct given the facts of this case.” (ECF No. 77 at 27.)

       At sentencing, on September 23, 2016, the Court offered Ferizi an opportunity to allocute.

After an allocution comprising four lines of transcript text, the Court asked Ferizi if he had “any

true understanding of what [he] actually did[.]” (ECF No. 77 at 25.) Ferizi claimed he did, to which

the Court responded “I’m still not sure. Why did you do it?” Id. Ferizi then claimed that “it was

something -- happened very fast.” Id. Unpersuaded, the Court responded as follows: “It didn’t

happen that fast. You’re communicating back and forth over a period of time, aren’t you?” Id.

Ferizi responded by mentioning a girl he met online who supported ISIS. Id. To this, the Court

responded as follows: “Well, this was a case where it wasn’t a one time incident. You had plenty

of time to think about what was going on.” Id.



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        Prior to and during sentencing, Ferizi made several such attempts at justifying or explaining

his actions. On this issue, however, neither Ferizi nor defense counsel could get their story straight.

Prior to sentencing, Ferizi claimed that he transferred the PII to ISIS to “show off his hacking skills

to people he met online.” (PSR ¶ 27.) (He made this claim despite clearly agreeing with Junaid

Hussain that they would release the PII anonymously, despite admitting that his actions were not

committed for any “innocent reason,” despite admitting that he hacked to further the material

support violation, and despite stipulating under § 3A1.4(a) that his motive in providing material

support was to influence or affect government conduct by intimidation or coercion, or to retaliate

against government conduct.) But in Ferizi’s sentencing submission, defense counsel offered

another explanation: Ferizi did what he did to get back at the U.S. for not removing an article

published online about his activities. As defense counsel put it: “Motivated by his wholly

misguided and immature desire to respond to the perceived slight, Mr. Ferizi broke into a retail

database in the United States and extracted emails and passwords that appeared to belong to

government or military employees. He then sent Hussain the link containing information he had

culled from the retail database.” (ECF No. 53 at 86.) At sentencing, defense counsel doubled down

on the “smear post” theory, arguing that Ferizi committed his crimes to “get back at the United

States Embassy for not removing the smear post” and “that that truly is his explanation for what

he did.” (ECF No. 77 at 20.) Yet in his forensic psychological evaluation, Ferizi was more candid.

There, Ferizi “reported that hacking gave him a sense of control and power that he liked and that

this feeling was at least initially a primary motivator for hacking activities.” (Report at 5). Ferizi

also admitted that he viewed his hacking activities as morally justified. Id. at 6.5 Ferizi explained



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      Ferizi also “stated that while he had many associates who hacked for criminal profit (e.g.,
ransoming fixes for viruses they planted), he did not engage in such activity.” (p.6). This was a lie.
Ferizi did just that in this case when he attempted to extort a bitcoin ransom from the victim
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that he later used hacking as a way of challenging governments. Id. at 5. Ferizi also explained that

his focus shifted to the U.S. because of its technological advancement and that his hacking aimed

at “proving that [his] theories about government are correct.” Id.

        At sentencing, Ferizi attempted to minimize the level of harm suffered by the 1,300 victims

whose PII was released on the internet. The crux of Ferizi’s argument on this score was that none

of his victims were physically harmed. (See ECF No. 53 at 7 (“[N]o one was physically harmed as

a result of Mr. Ferizi’s conduct.”); 18 (“[T]here was not a physical attack on the victims”); (ECF

No. 77 at 22) (defense counsel distinguishing case from Adam Chesser prosecution).) But the

Court rejected these arguments. As the Court stated, “although the defense has argued that the

victims are not victims as -- as much as in the other case that the Government has cited, just having

your name on a list knowing that you’ve been identified to a terrorist group, in my view, is

sufficiently terrorizing for those people on the list. And their letters certainly attest to that fact.”

(ECF No. 77 at 27.) Continuing, the Court added that one victim “who has a very unique name, in

particular, mentions that maybe the only name in that particular area would make it very easy to

find that person. And the fact that they are basically on a hit list making them basically targets is

very, very serious.” Id.6

        The Court then imposed a 240-month sentence—comprised of 180 months for the material

support conviction and 60 months for the hacking conviction—and in doing so, noted Ferizi’s

years-long involvement in hacking:

        Because of the need, among other things, for general deterrence, the need to make
        sure this defendant is deterred from such future conduct, given his track record


company in exchange for removing the malware. As he said: “When i get money here:
lf5Vgj7wMU9ofZWZno9ABsLSQ7XXkLsrG[.] I will make full report for server and method.. i
will protect and remove all bugs on your shop!” (ECF No. 2 at 18.)
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       Another victim impact statement stated thusly: “I have to live constantly under the threat
that someone might actually arrive at my residence and harm me or my family members.”
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       going back five or six years with hacking, the Court is satisfied that a total sentence
       of 240 months is sufficient but not greater than necessary to achieve the purposes
       of Section 3553(a).

(ECF No. 77 at 27–28.)
       The Court also imposed a 10-year term of supervised release, which included a special

condition that Ferizi was “not permitted to have any contact or communications whatsoever with

any known terrorist, terrorist organizations, or any known hackers.” (Id. at 29–30.) The Court also

imposed a special condition that Ferizi “satisfactorily participate in such mental health treatment

as directed by the probation office with an emphasis on deradicallization.” Id. at 29.

   C. Ferizi moves to amend his sentence
       At sentencing, the government mentioned an individual within the Eastern District of

Virginia, subsequently identified as Haris Qamar, “who was arrested for … the fact that he drove

by the homes of two individuals in Virginia whose names and addresses were on the kill list that

Junaid Hussain posted in March of 2015.” (ECF No. 77 at 12.) Three days after sentencing, on

September 9, 2016, Ferizi moved to amend his sentence under Federal Rule of Criminal Procedure

35(a), arguing that the government’s representation improperly suggested that he was the source

of the information in Junaid Hussain’s March of 2015 “kill list.” (ECF No. 72.) In response, the

government rejected Ferizi’s characterization of its sentencing statement and stressed that it

referenced Qamar “to show that persons in the United States actually read and follow ISI[S] kill

lists; that these lists are more than just bits and bytes posted on the internet.” (ECF No. 74 at 7.)

       On October 7, 2016, the Court held a hearing on Ferizi’s motion. There, the Court re-

explained its sentencing decision by summarizing several letters it had reviewed describing the

harm suffered by Ferizi’s victims, and cited again a letter from the victim with a unique name:

       I think we had talked about the fact that people with unique names, not like Smith
       or Brown, where there are just, you know, millions in society, but with a unique
       name that would make them almost the only person in society, that they are very

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       vulnerable to being easily identified when they’re on such a list, and this individual,
       … said, among other things, “I am the only one” -- and this is a quote: “I am the
       only one with my last name in the country I live in, and it is not difficult at all to
       find me. There is nothing anyone can do to prevent something happening to me, or
       worse, to my family, since I would never be able to see or identify anyone. Already,
       I have had a suspicious visit to my house that I had to report to the [redacted]
       security, who in turn informed the [redacted] police. These people came to my
       house and knew my name.”

(ECF No. 106 at 3–4.) The Court also explained that the harm suffered by Ferizi’s victims

originally drove its sentencing decision:

       Now, that is an example … that underscores my conclusion that this kind of conduct
       is extraordinarily serious and that it does expose innocent people, especially
       innocent people who are working for the U.S. government or serving in the military,
       to even if not threats, the fear of threats. It puts people in a, in a position where they
       are worried, and therefore, it’s a very serious crime, and that was the basis upon
       which this Court felt that a 20-year sentence was appropriate[.]

Id. at 4. The Court then denied Ferizi’s motion. Id.

   D. Ferizi’s first motion for compassionate release

       On August 7, 2020, Ferizi, then residing at USP Lewisburg, filed a pro se motion for

compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i). The Court appointed counsel who filed

a supplemental memorandum arguing that Ferizi’s asthma and obesity were factors placing him at

a higher risk of suffering complications should he contract COVID-19. (ECF No. 89.) Given these

conditions, Ferizi asked to be released to Kosovo, where he would reside with his family.

       The government opposed the motion, in part, due to the seriousness of Ferizi’s offense and

the government’s inability to supervise him in a foreign country. (ECF No. 95.) The government

noted that if released, Ferizi would “be entirely outside the jurisdiction of this Court and the

supervision of the U.S. Probation Office, free to resume his online activities unmonitored by U.S.

law enforcement or the Court.” Id. at 17. Finally, the government argued that Ferizi’s risk of




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recidivism was too high to warrant his release and that this risk posed a danger to the community.

Id.

         On October 6, 2020, the Court held a hearing. There, the Court identified several logistical

concerns relating to Ferizi returning to Kosovo. The Court then denied Ferizi’s motion in light of

these logistical obstacles, as well as the government’s concerns about its inability to ensure the

safety of the community once the defendant left the U.S. As the Court stated:

         I read over the mental health evaluation that was done back in 2016, which was part
         of, I guess, the sentencing proceeding, and it was interesting that he did voice issues
         with the United States, and he is, obviously, a fairly skillful hacker. I don’t know
         what kinds of guarantees there could be placed on him that he would not reengage
         in hacking activities aimed at the United States. If he were being released
         domestically, I would have ways of controlling him. I could put him on computer
         monitoring surveillance by the probation office, I could have him on GPS
         monitoring, I could do all sorts of things, but I can’t do that when he’s over in
         Kosovo. And so, the danger that he poses is out there. I’m not saying it’s a high
         risk, but it’s certainly not the least risk, and he is mentally unstable based upon the
         mental health history here. So I have to look at that in terms of the 3553(a)
         balancing factor because the safety of the community is definitely a factor that goes
         into any of these types of decisions.

(ECF No. 100 at 9 –10.) The Court reiterated its safety concerns towards the end of the

hearing:

         [J]ust in looking at the release plan in place, there’s just not an ability to guarantee
         the safety of the community from any future hacking. I mean, asking the parents to
         do the monitoring is not the same thing as having a probation officer, it’s not the
         same thing as having access to computers, you know, carefully monitored by a law
         enforcement agency and then having, you know, monitoring of the computer. We
         just can’t control that.

Id. at 11–12.

      E. Ferizi’s second motion for compassionate release

         On November 11, 2020, Ferizi, now residing at FCI Gilmer, filed a second motion for

compassionate release. (ECF No 101.) The crux of Ferizi’s renewed motion was that FCI Gilmer

was experiencing an outbreak of COVID-19 cases. Ferizi also represented that he had resolved the

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practical concerns regarding traveling to Kosovo and that nothing barred his return to his home

country. The government opposed the motion, stressing that the changed circumstances did not

alter the seriousness of Ferizi’s offense or the government’s inability to supervise a computer

hacker in Kosovo. In the government’s view, the 18 U.S.C. § 3553(a) factors “provide[d] the most

critical reasons why [Ferizi’s] motion should fail.” (ECF No. 103 at 1.) As it argued in its

opposition,

       Ferizi is a convicted terrorist hacker who seeks to be released to a foreign country,
       outside the reach of the United States. Despite the updates provided in his new
       motion, the seriousness of his offense and the danger he poses to the community
       make him an inappropriate candidate for compassionate release.

Id.

       On December 3, 2020, the Court granted Ferizi’s motion and reduced his sentence to time

served. (ECF No. 105.) In doing so, the Court concluded that Ferizi was particularly susceptible

to COVID-19 and had shown a likelihood of contracting the disease in prison.

       The Court recognized that Ferizi committed a “serious offense” and that “his actions were

harmful to the individuals whose names appeared on the list posted by ISI[S].” Id. at 6–7.

“Nevertheless,” the Court continued, “even defendants who have committed very serious offenses

can be appropriately released from custody or supervision where there is no indication that

defendant poses a risk to the public, and reducing defendant’s sentence to time served will not

diminish the seriousness of his offense or respect for the law.” Id. at 7. The Court then noted that

the “defendant’s offense did not involve violence, and none of the individuals whose information

he gave to ISI[S] suffered physical harm.” Id. The Court continued as follows:

       Defendant has explained that he “totally and completely oppose[s] ISI[S] and all
       that it stands for,” and that immaturity rather than ideology was the primary
       motivator of his conduct: “When I gave the information, I was mostly focused on
       trying to show off my hacking skills to people I had met online. I deeply regret my
       actions and I accept the consequences of what I have done.”

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The Court also rejected the government’s concerns about recidivism and its inability to supervise

Ferizi in a foreign country. In the Court’s view, Kosovo would adequately supervise Ferizi.

         The Court then reduced Ferizi’s sentence to time served and ordered the Bureau of Prisons

to place him in a 14-day quarantine, after which he would be released into Immigration and

Customs Enforcement custody for deportation to Kosovo.

   F. The government appeals and Ferizi is charged with new crimes

         On December 15, 2020, the government appealed the Court’s release order. (ECF No. 110.)

In its opening brief, the government argued that the Court abused its discretion by reaching

conclusions at odds with both the factual record and the Court’s own prior conclusions. See Gov’t

Opening Br., United States v. Ferizi, No. 20-7830 (4th Cir. filed Feb. 9, 2021), ECF No. 17.

         On January 8, 2021, while in immigration custody, Ferizi was charged by complaint in the

Northern District of California with wire fraud, in violation of 18 U.S.C. § 1343, and aggravated

identity theft, in violation of 18 U.S.C. § 1028A. See United States v. Ferizi, 3:21-mj-70014, ECF

No. 1 (N.D.C.A. Jan. 8, 2021).7 On January 21, 2021, a grand jury charged Ferizi in a five-count

indictment with conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349; wire fraud, in

violation of § 1343; possession of an unauthorized access device, in violation of 18 U.S.C.

§ 1029(a)(3); transfer of stolen identification documents, in violation of 18 U.S.C. § 1028(a)(2);

and aggravated identity theft, in violation of § 1028A. See United States v. Ferizi, 3:21-cr-27, ECF

No. 4 (N.D.C.A. Jan. 21, 2021).8 These charges stemmed from Ferizi’s conduct in prison while

incarcerated on his convictions from the Eastern District of Virginia.




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        The criminal complaint affidavit is attached to this response as Government Exhibit D.
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        The indictment is attached to this response as Government Exhibit E.
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       On November 16, 2021, after hearing oral argument, the Fourth Circuit remanded back to

this Court “to consider in the first instance how the new charges, or other relevant evidence

revealed since the district court’s order of release, impact the discretionary § 3553(a) analysis for

compassionate release[.]” United States v. Ferizi, No. 20-7830, 2021 WL 5320860 (4th Cir. Nov.

16, 2021). On December 8, 2021, the Court directed the parties to “supplement the record to enable

this Court to consider ‘how the new charges, or other relevant evidence revealed since the district

court’s order of release, impact the discretionary § 3553(a) analysis for compassionate release.’”

(ECF No. 124.)

                                            Argument

       The Court should deny Ferizi’s motion for compassionate release.

       First, the very basis for Ferizi’s motion—that his health conditions present an extraordinary

reason for release—has been significantly undercut by his vaccination status. Ferizi, by his own

in-court admission, is fully vaccinated with the Moderna vaccine. (Gov. Ex. A at 13 –14.) That

fact “precludes a finding that the COVID-19 pandemic presents extraordinary and compelling

reasons for his release.” United States v. Kurzynowski, 17 F.4th 756, 758 (7th Cir. 2021) (citing

United States v. Broadfield, 5 F.4th 801 (7th Cir. 2021)); United States v. Traylor, 16 F.4th 485,

487 (6th Cir. 2021) (“[A] defendant’s incarceration during the COVID-19 pandemic—when the

defendant has access to the COVID-19 vaccine—does not present an ‘extraordinary and

compelling reason’ warranting a sentence reduction.” (quoting United States v. Lemons, 15 F.4th

747 (6th Cir. 2021)).

       “The underlying arguments for release from prison based on the coronavirus pandemic

depend at least on allegations that the risk of contracting COVID-19 in a prison is higher than the

risk outside the prison and that the inmate’s preexisting medical condition increases that



                                                 15
individual’s risk of experiencing a serious, or even fatal, case of COVID-19.” United States v.

High, 997 F.3d 181, 185 (4th Cir. 2021). Because Ferizi’s “underlying arguments for release” have

been significantly weakened by his vaccination status, releasing him is no longer appropriate.

       Second, the new charges in the Northern District of California confirm the government’s

earlier arguments that Ferizi is too dangerous to release and that granting his motion will not

protect the public from further crimes. Given Ferizi’s background and history, the new allegations

against him are unsurprising.

       The defense has repeatedly recognized Ferizi’s prior hacking activities. (See ECF No. 53

at 7 (“While he had previously engaged in hacking activities and was known to the Kosovar

authorities, he was never sentenced for any hacking offenses.”), 12 (“As his hacking skills

improved, he gained increasing notoriety online.”), 13 (“his hacking activities intensified”), 14

(“In 2013, Mr. Ferizi got in trouble for hacking into Kosovo government databases. However, he

was given an alternative sentence.”); ECF No. 77 at 23 (“Mr. Ferizi has never disputed that he

engaged in hacking activities as a youth, as a juvenile, in Kosovo”).) Ferizi himself put it best in a

letter to the Court: “I have hack[ed] or access[ed] a lot of databases but never got in trouble.” (ECF

No. 53-2 at 3.)

       The Court too has recognized Ferizi’s prior hacking activities. The Court did so at

sentencing. (See ECF No. 77 at 25 (“You obviously have a certain talent for working on the

computer. You’ve been able to hack into Government databases at least since the age of 15.”); 28

(noting “the need to make sure this defendant is deterred from such future conduct, given his track

record going back five or six years with hacking”)). And in denying Ferizi’s first motion for

compassionate release, the Court characterized him as “a fairly skillful hacker” and doubted




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whether it could prevent him from engaging in “hacking activities aimed at the United States.”

(ECF No. 100 at 9.)

       The new charges in the Northern District of California only reaffirm the obvious. Ferizi is

a hacker and a fraudster, and he has no qualms about victimizing innocent people to benefit

himself.

       According to the criminal complaint affidavit, on October 3, 2017, while incarcerated in

the Federal Correctional Institute in Terre Haute, Indiana Ferizi emailed his brother in Kosovo and

asked him to keep his email accounts alive. He provided his brother with the

arditferizi95@gmail.com address and password as well as five other accounts and passwords.

(Complaint ¶ 15.) On February 26, 2018, Ferizi spoke with his brother, who confirmed having

accessed the accounts. Id. at ¶ 16. Search warrant returns indicate that the previous day, “files were

prepared to be downloaded from the arditferizi95@gmail.com e-mail account that included large

databases of stolen PII.” Id. at ¶ 17. “The databases included extensive lists of stolen e-mail

accounts, partial credit card numbers, passwords, and other PII.” Id. These databases are believed

to be “the fruits of [Ferizi’s] previous criminal hacking activity.” Id. Search warrant returns

indicate that several large databases of stolen PII were prepared for downloading via the Google

Takeout tool, which allows users to download their emails and the contents of their Google Drive.

On February 25, 2018, the arditferizi95@gmail.com address received an email indicating that the

data was ready for downloading. Within the Takeout files were “large databases of stolen PII, were

available for download or about February 25, 2018[.]” Id. at ¶ 45. The Google Takeout tool must

be initiated by someone. It does not occur on its own. Id.

       Among the sets of data contained in Ferizi’s email account was a spreadsheet in a folder

tilted “hehe” that contained 51 rows of what appeared to be stolen PII from Macy’s customers,



                                                 17
including email addresses, passwords, and partial credit numbers. Id. at ¶ 47. The FBI interviewed

three individuals named on the Macy’s spreadsheet. All three confirmed they had accounts with

Macy’s and had been victimized by other instances of identity theft. Id. at ¶ 48. One victim reported

that she no longer uses the email address listed on the Macy’s spreadsheet and believed she was

hacked about three years prior due to suspicious activity. Id. at ¶ 49. The victim further “advised

that she experienced high levels of credit card fraud over the past four to five years and that she

normally has to change her credit card numbers three to four times a year due to fraud.” Id.

           Another database located in Ferizi’s Google Drive was called “#opisrael” and “contained

first name, last name, e-mail address, phone number, ID number, and address data for what

appeared to be more than 17,000 victims.” Id. at ¶ 50. Op Israel refers to an annual coordinated

cyber-attack where hacktivists target Israeli government websites and Israeli citizens. Id. Another

database contained a spreadsheet with 55 email addresses and passwords. Id. at ¶ 51. And a final

database called “USA-Emails-Clean” contained 438,334 rows of email addresses. Id. at ¶ 52.

Within this database were government email addresses ending in “usdoj.gov”, “hq.doe.gov”,

“sanantonio.gov”, “flsenate.gov”, “sec.gov”, “gsa.gov”, and “noaa.gov.” Id. Search warrant

returns for Ferizi’s Facebook account also revealed that he previously sent himself a list of the

100,001 rows of email addresses and password he stole from the victim company in this case. Id.

at ¶ 55.

           The FBI also learned through an inmate housed at Terre Haute (“MI”) that Ferizi was

“cashing out” from his crimes and using his family members to do so. Id. at ¶ 25. On December

27, 2017, MI spoke to an identified female (“FI”). FI told MI that she had sent “those emails.” Id.

MI warned FI not to get involved with Ferizi because he was engaging in illicit activity. Id. FI

responded that she wished she had known this information before she had emailed Ferizi’s brother.



                                                 18
Id. The FBI later interviewed FI concerning her conversation with MI. Id. at ¶ 28. FI searched her

emails for the name of Ferizi’s brother and identified messages beginning around October 2017.

FI relayed that she had been requested to open bitcoin accounts for Ferizi and his brother. Id. FI

believed that Ferizi and his brother discussed her opening Blockchain, Bitflyer, and Coinbase

bitcoin accounts. Id. She also advised that her emails with Ferizi’s brother took place from

approximately October 2017 to January 2018. Id.

          The day after the interview, FI provided the FBI an email she had sent Ferizi’s brother on

December 27, 2017. Id. at ¶ 30. The email provided as follows:

          I have been told to send you an email from the address to which you can send the
          user name and password for certain escrow accounts and then the escrow account
          information itself for the various accounts. Please send this information to the email
          from which this being sent.

Id.

          The FBI also interviewed MI. Id. at ¶ 32. MI relayed that Ferizi possessed a white iPhone

while incarcerated and that he wanted MI to pass information to FI regarding email accounts that

contained bitcoin so that she could relay it to Ferizi’s brother. Id. MI also relayed the Ferizi

associated in prison with a convicted perpetrator of the 1993 World Trade Center Bombing and

that he saw “terroristic material and severed heads” on Ferizi’s phone. Id. at ¶¶ 32, 38. The FBI

also learned that Ferizi lost his email privileges around December 13, 2017. Id. at ¶ 34.9

          Separate and apart from Ferizi’s most recent scheme, the criminal complaint also details

two other instances of Ferizi discussing or engaging in other unlawful ventures with innocent

persons’ PII. For example, in 2015 Ferizi and his brother discussed how best to capitalize on a

recent data breach of the Ashley Madison website. Id. at ¶ 53. The complaint also alleges that in


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       Several months before losing his email privileges, Ferizi emailed DIPVTEL expressing
interest in obtaining a virtual phone number in prison. (See Gov. Ex. F.)

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2016, Ferizi discussed with law enforcement how an identified fellow hacker would use “account

checkers” to mine for stolen data from eBay, PayPal, and financial websites. Id. at ¶ 62. An

“account checker allows a hacker, in a quick and automated way, to identify if a group of stolen

login credentials from one website can be repurposed to unlawfully access the account of the same

victims on other websites . . . based on the common practice of individuals using the same email

and password for multiple web sites.” Id. at ¶ 64. A review of Ferizi’s Facebook account revealed

private message between Ferizi and the identified hacker displaying their use of account checkers

in August 2015. Id. at ¶ 63. The FBI also identified private messages between Ferizi and the

identified hacker demonstrating their use of account checkers on a victim’s stolen login credentials

approximately 17 times between July and August 2015. Id. at ¶ 65.

         As part of the investigation in the Northern District of California, the government has

obtained a police report from Kosovo detailing six criminal investigations initiated into Ferizi’s

conduct. (See Gov. Ex. B.)10 A brief synopsis of each case follows:

         1. 2012-DHKO-002 Article 264 (Accessing computer systems): Ferizi is alleged
            to have attacked various online platforms, “including the government network,
            customs, PTK [Post and Telecommunications of Kosovo], RTK [Radio
            Television of Kosovo],” among others. The suspects accessed the
            aforementioned systems and extracted sensitive PII which they later publicized
            online. Ferizi also hacked into an online media portal and posted fake news
            about the Prime Minister of Kosovo.11
         2. 2012-AD-3253 Article 264 (Accessing computer systems): Ferizi was arrested
            and released on the same day. No other details are available.
         3. 2012-DB-1241 Article 264 (Accessing computer systems): Ferizi is alleged to
            have attacked several different websites, interrupting their functioning.
         4. 2013-YI-2 Article 374 (Ownership, control or unauthorized possession of
            weapons” and Article 339 (Accessing computer systems): In 2013, Kosovo
            Customs intercepted a package sent to Ferizi from Israel containing a
            bulletproof vest, two helmets, two handles for long weapons, two holsters for
            short weapons, and two “two protective sets for hands for [an] AK-47.”


    10
      Government Exhibit C is the same report in the original Albanian.
    11
      This is likely the same prosecution discussed in the forensic psychological evaluation.
(Report at 5.)
                                                20
       5. 2013-DKKO-026 Article 339 (Accessing computer systems) and Article 417
          (Impersonating a public official): In 2013, Ferizi is alleged to have created a
          fake social media account for Vlora Citaku, a Kosovo Minister. Ferizi then used
          this account to make fraudulent posts under Citaku’s name. Authorities arrested
          Ferizi for 24 hours and seized his passport.
       6. 013-DKKO-010 Article 339 (Accessing computer systems): Ferizi is alleged to
          have attacked the Telegrafi webpage and caused it to cease functioning. During
          the attack, the Telegrafi official email address received the following message:
          “Respect the Islamic faith or the Islamic faith punishes you.”

       The police report also explains how Ferizi managed to leave Kosovo for Malaysia

in 2015. As noted above, Kosovo authorities seized Ferizi’s passport in 2013. Shortly after, Ferizi

appeared at the Gjakova police station and reported his passport lost. (Gov. Ex. B at 5.) The

Gjakova police issued Ferizi a certificate for a lost document, which he then used to successfully

apply for a new passport. In essence, Ferizi fraudulently obtained a genuine passport.

                                      *        *        *

       All this conduct paints a familiar picture. Prior to this prosecution, Ferizi had prior run-ins

with Kosovo authorities for hacking activities. At one point, he received an alternate sentence.

Clearly, that bit of good fortune did little to deter him from reoffending. Ferizi then committed the

offenses involved in this case. Once again, he found himself accused of breaching systems and

stealing PII. This time, however, he decided to aid ISIS in the process. But this was not his first

time doing so. Prior to sending Junaid Hussain the PII of 1,300 victims, Ferizi sent Tariq Hamayun,

another ISIS member, credit card information belonging to 68 other individuals. In 2016, the Court

imposed a sentence that not only fit the crime but also the criminal. Prior to sentencing in 2016,

Ferizi wrote to the Court. He stated that “I respect this country and its laws. (ECF No. 53-2 at 5–

6). He also stated that “i know that I won’t do anything like this never.” Id at 6. But a little over

one year later, Ferizi picked up exactly where he left off. Once again, Ferizi is accused of engaging




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in a fraudulent scheme to capitalize on innocent persons’ PII. And again, Ferizi has used deception

to circumvent the authorities and accomplish his goals.

       Ferizi will likely argue that the new charges are only allegations and that they have not yet

been proven beyond a reasonable doubt. But while technically true, Ferizi is now under indictment,

which itself “‘conclusively determines the existence of probable cause’ to believe the defendant

perpetrated the offense alleged.” Kaley v. United States, 571 U.S. 320, 328 (2014) (quoting

Gerstein v. Pugh, 420 U.S. 103 (1975)). And even if Ferizi is acquitted of the new charges, the

bare facts constituting his new offense conduct will remain, and the Court can still consider those

facts in the compassionate release setting. See United States v. Watts, 519 U.S. 148 (1997); United

States v. Grubbs, 585 F.3d 793, 799 (4th Cir. 2009) (“[A] sentencing court may consider uncharged

and acquitted conduct in determining a sentence, as long as that conduct is proven by a

preponderance of the evidence.”); United States v. Jones, 31 F.3d 1304, 1316 (4th Cir. 1994)

(a “defendant need not be convicted of the charges constituting relevant conduct for him still to be

held accountable for them” when a sentencing court determines the defendant’s sentence, as long

as the government “establish[es] the existence of these other incidents by a preponderance of the

evidence”).

       The conduct forming the basis for the new criminal charges consists of Ferizi asking his

brother to maintain email accounts containing databases with information on hundreds of

thousands of people, using an intermediary in prison to communicate with his coconspirator

brother in Kosovo, and likely doing so to circumvent restrictions on his communications. At its

core, this is all familiar conduct. The same defendant, more stolen PII, and more deception. It is

also now apparent that Ferizi hoodwinked Kosovo authorities to obtain a new passport after they

had seized his. Still more deception.



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       Prior to sentencing in 2016, Ferizi wrote to the Court that he “deeply regret[ed] [his]

actions” and “accept[ed] the consequences of what [he] ha[d] done.” PSR ¶ 27. But when Ferizi

made substantially the same claim at sentencing, see ECF No. 77 at 24–25 (“I feel so bad for what

I did. I take full responsibility for that.”), the Court asked if he had “any true understanding of

what [he] actually did[.]” (ECF No. 77 at 25.). When Ferizi responded that he did, the Court

responded that it was “still not sure.” Id. And when Ferizi attempted to justify his actions, the

Court rejected his excuses. Id. The Court’s original inclination was correct. And Ferizi cannot now

demonstrate otherwise. See United States v. Sherwood, 986 F.3d 951, 954 (6th Cir. 2021) (“[W]e

presume that the district court’s initial balancing of the § 3553(a) factors during Sherwood’s

sentencing remains an accurate assessment as to whether those factors justify a sentence reduction,

meaning Sherwood must make a compelling case as to why the sentencing court’s § 3553(a)

analysis would be different if conducted today.”); see also United States v. Keitt, — F.4th —, 2021

WL 6058144, at *4 (2d Cir. Dec. 22, 2021) (“Indeed, it would have been most unusual if the

district court’s analysis of the § 3553(a) factors had been markedly different after such a short

period of time.”). “[T]he burden falls on” Ferizi “to convince [this Court] to exercise discretion to

grant the motion after considering the [Section] 3553(a) factors.” Ward v. United States, 11 F.4th

354, 361 (5th Cir. 2021) (cleaned up) (citing United States v. Shkambi, 993 F.3d 388, 392 (5th Cir.

2021)). And although the government maintains that Ferizi never merited compassionate release,

whatever doubt might have existed should now be extinguished by his conduct in prison.

       At the height of the Pandemic, Ferizi sought compassionate release from the Court. He

initially asserted that “[t]he punishment he has already endured is more than sufficient to deter him

from ever re-offending.” (ECF No. 89 at 4.) Not so. In a subsequent motion, Ferizi argued that he

“ha[d] matured, stabilized, and outgrown the juvenile impulses that caused him to commit his



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offense. Likewise, he has been sufficiently deterred from ever engaging in this type of conduct

again.” (ECF No. 101 at 2.) Once again, more empty words. A defendant who commits an offense

soon after completing his prison sentence does not merit compassionate release. See High, 997

F.3d at 189. That principle applies doubly to defendants who commit crimes while incarcerated

on the offense from which they seek early release. Accord United States v. Ventura, 864 F.3d 301,

313 (4th Cir. 2017) (affirming court’s imposition of same sentence despite prior vacatur of

conviction and holding that “court did not err in taking account of [defendant’s] misdeeds while

he was in custody with the BOP.”).12

         Ferizi was too dangerous to release even before the new charges. His background paints a

clear and consistent portrait of an individual thoroughly consumed by the enterprise of hacking.

He is the self-proclaimed leader of a Kosovo hacking group that claims to have compromised over

20,000 websites. PSR ¶ 10. Ferizi believes hacking is morally justified and has admitted that it

gives him a sense of control and power that he likes. He has had repeated, similar run-ins with

Kosovo authorities for hacking activities and previously committed a crime remarkably similar to

the instant offense. He has, in his own words, “hack[ed] or access[ed] a lot of databases[.] (ECF

No. 53-2 at 3.) When he breached the victim company’s server in this case, he toyed with,

threatened, and attempted to extort a ransom in bitcoin from his victim. Given his history, and the




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        Ferizi previously cited his prison courses and completion of a GED as evidence of his
maturation. (See ECF No. 89 at 18; ECF No. 96 at 9.) But the significance of this coursework is
unclear at best. As a general matter, taking courses and completing a GED is relatively common
in federal prison. See United States v. Hunter, 12 F.4th 555, 572 n.10 (6th Cir. 2021). And more
importantly, Ferizi already had a high school diploma when he committed the crime, see PSR ¶ 59.
Moreover, he was literally enrolled in a university (having completed approximately 22 credits) at
the time he committed his initial offense. PSR ¶ 70. Other than simply asserting that his
coursework was evidence of maturation and rehabilitation, Ferizi never explained why having a
second high school diploma would have any bearing on his likelihood of recidivating. At bottom,
there is simply no reason to elevate Ferizi’s specific coursework beyond what the record supports.
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fact that “the risk of recidivism is inversely related to an inmate’s age at release[,]” United States

v. Fowler, 948 F.3d 663, 670 (4th Cir. 2020) (internal quotation marks and citation omitted), there

is every reason to believe Ferizi will continue to ply his trade if released to Kosovo. 13 “Sending

[Ferizi] overseas will not guarantee the safety of people in this nation or any other.” United States

v. Ugbah, 4 F.4th 595, 597–98 (7th Cir. 2021) (affirming denial of compassionate release to non-

citizen on-line fraudster because “[t]he Internet reaches across the globe, and [he] became involved

in online fraud while in Nigeria.”). The new charges simply confirm that reality.

         Finally, releasing Ferizi five years into a twenty-year sentence would not reflect the

seriousness of the offense, promote respect for the law, provide adequate deterrence, or provide

just punishment.

         Ferizi’s offenses caused immense and lasting harm to his victims. The Court has repeatedly

recognized the seriousness of Ferizi’s crimes. The passage of time has done nothing to offset the

objective seriousness of the offense, or the harm suffered by Ferizi’s victims. Indeed, the FBI

continues to work with private entities to remove Ferizi’s kill list whenever it surfaces on the

internet. “There are crimes whose consequences vividly outlive the criminal act.” United States v.

Friend, 2 F.4th 369, 382 (4th Cir. 2021). This is such a case.

         The Court may also consider the amount of time Ferizi has already served. See United

States v. Kibble, 992 F.3d 326, 331 (4th Cir. 2021). Releasing Ferizi at this juncture would unduly



    13
       As the government argued previously, a defendant’s pattern risk score does not account for
numerous defendant-specific factors, such as the seriousness of the offense of conviction, a
defendant’s ideology, or the inability to supervise a defendant after release. (ECF No. 95 at 20.)
Critically, a PATTERN risk score does not account for a defendant like Ferizi’s unique skillset.
Thus, in many cases a PATTERN risk score will not be an adequate means for gauging a
defendant’s risk of recidivism. See United States v. Bass, 17 F.4th 629, 640 (6th Cir. 2021)
(reversing grant of compassionate release where court relied on defendant “reportedly ‘low’
PATTERN score as proof that [he] was at low risk of reoffending upon release.”). And of course,
the best evidence of that is this very case.
                                                 25
minimize the severity of his offense. Releasing Ferizi would also undermine respect for the law.

And while that is true as a general matter, it is especially so here, where Ferizi—who has

previously feigned respect for this country’s laws—is currently under indictment in another

district. Moreover, releasing Ferizi would fail to afford adequate deterrence. Even without the new

charges, a 75% decrease in sentence fails to afford any deterrent value. But again, that is doubly

so here, where the defendant is a young, skillful hacker who currently stands accused of

committing new crimes involving the theft of PII. Some defendants reoffend after being released.

Ferizi could not wait that long. Releasing him to Kosovo to rejoin his brother and co-conspirator

is a recipe for disaster.

        The compassionate-release statute is a “mechanism for lenity.” United States v. Brooker,

976 F.3d 228, 231 (2d Cir. 2020); accord Dillon v. United States, 560 U.S. 817, 828 (2010) (“[18

U.S.C.] § 3582(c)(2) represents a congressional act of lenity”). To secure such lenity, a defendant

must first “meet the heightened standard of ‘extraordinary and compelling’ reasons[.]” United

States v. McCoy, 981 F.3d 271, 287 (4th Cir. 2020). In light of recent developments, Ferizi cannot

meet that heightened standard. And even if he had, “a district court may not grant a sentence

reduction under 18 U.S.C. § 3582(c)(1)(A) without ‘considering the factors set forth in section

3553(a) to the extent that they are applicable.’” Kibble, 992 F.3d at 331 (4th Cir. 2021). Here, the

sentencing factors weigh uniformly against release. Because Ferizi cannot satisfy any of the

statutory prerequisites for release, the Court should deny his motion.




                                                26
                                  Conclusion

The Court should deny Ferizi’s motion for compassionate release.


                                      Respectfully submitted,

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                                    Certificate of Service

       I hereby certify that on December 22, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

all counsel of record.




                                        By:                      /s/
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